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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


   AMAZON.COM, INC and AMAZON                      )
   DATA SERVICES, INC.,                            )               Case No. 1:20cv484
                                                   )
          Plaintiffs,                              )            Hon. Rossie D. Alston, Jr.
                                                   )              Hon. Ivan D. Davis
   v.                                              )
                                                   )
   WDC HOLDINGS LLC d/b/a                          )
   NORTHSTAR COMMERCIAL                            )
   PARTNERS, et al.,                               )
                                                   )
           Defendants,
                                                   )    DECLARATION OF ADAM R. SMART
   ____________________________________            )      IN SUPPORT OF DEFENDANTS’
                                                   )          MOTION TO COMPEL
   800 HOYT LLC,                                   )
                                                   )
           Intervening Interpleader Plaintiff,     )
                                                   )
   v.                                              )
                                                   )
   BRIAN WATSON, et al.                            )
                                                   )
           Interpleader Defendants.                )
                                                   )

         I, Adam R. Smart, pursuant to 28 U.S.C. § 1746 hereby declare, under penalty of perjury,

  as follows:

         1.      I am over the age of 18 years. I have personal knowledge of the facts set forth

  below, and if called upon to do so, I could and would competently testify thereto.

         2.      I am an attorney licensed to practice law in the State of Florida and admitted to

  appear in this case, pro hac vice, on behalf of Defendants Carleton Nelson and Cheshire Ventures,

  LLC. I am an attorney at the law firm of Burr & Forman, LLP.

         3.      I make this declaration in support of Carleton Nelson’s motion to compel.
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          4.      Attached hereto as Exhibit A is a true and correct copy of excerpts from the 30(b)(6)

  deposition of Amazon, by corporate representative Chris Vonderhaar, taken on September 14,

  2022 in this action, filed under seal.

          6.      Attached hereto as Exhibit B is a true and correct copy of excerpts from the

  deposition of Richard Lee, taken on December 19, 2022 in this action, filed under seal.

          7.      Attached hereto as Exhibit C is a true and correct copy of excerpts from the report

  of Richard Lee, disclosed by Amazon in this action, filed under seal.

          8.      Attached hereto as Exhibit D is a true and correct copy of an excerpt of Amazon’s

  response to Nelson’s requests for admission in this action.

          9.      Attached hereto as Exhibit E is a true and correct copy email correspondence

  between me and counsel for Amazon during October and November 2022.

          10.     Attached hereto as Exhibit F is a true and correct copy email correspondence

  between counsel for Amazon and the U.S. Attorney’s Office for the Eastern District of Virginia,

  dated February 20, 2022, produced by Amazon in this action.

          11.     Attached hereto as Exhibit G is a true and correct copy email correspondence

  between the U.S. Attorney’s Office for the Eastern District of Virginia and counsel for Amazon,

  dated June 24, 2022, produced by Amazon in this action.

          12.     Attached hereto as Exhibit H is a true and correct copy of a spreadsheet produced

  by Amazon in discovery in this action that appears to be a list of the developers to whom it sent

  the requests for certifications at issue in this motion, filed under seal.

          13.     Attached hereto as Exhibit I is a true and correct copy of correspondence from

  Amazon to developer Steuart-Westfax A, LLC produced by Amazon in discovery in this action,

  filed under seal.



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          14.     Attached hereto as Exhibit J is a true and correct copy of a certification produced

  by Scott Peterson in discovery in this action.

          15.     Attached hereto as Exhibit K is a true and correct copy email correspondence

  between counsel for Amazon and the U.S. Attorney’s Office for the Eastern District of Virginia,

  dated April 1, 2020, produced by Amazon in this action.

          15.     Attached hereto as Exhibit L is a true and correct copy of an excerpt of Amazon’s

  objections in response to Nelson’s first requests for production in this action.

          16.     Attached hereto as Exhibit M is a true and correct copy of an excerpt of Nelson’s

  first requests for production in this action.

          17.     The definition for “Lease Transactions” used in Nelson’s requests for production

  was taken from the definition Amazon used in its own requests for production to Nelson.

          18.     During the parties’ meet and confer call on Nelson’s first set of requests for

  production to Amazon, Amazon told the Nelson defendants that there was nothing relevant outside

  anything directly relating to the nine lease transactions at issue in this case as it may pertain to

  requests for production 3 or 4. At the time neither the Nelson Defendants nor their attorneys, had

  any knowledge that Amazon had recently entered into a confidential settlement with IPI that relied

  in part on the yield and fee rates in Amazon’s other data center lease transactions. Only later when

  Amazon supplemented its 26(a)(1) disclosures did the Nelson Defendants become aware of the

  settlement. Nor did the Nelson Defendants or their attorneys know about the new procurement

  policy that was implemented by Amazon in April 2020 that appears to be directly tied to the

  allegations in this case. Thus, the representation at the meet and confer conference induced the

  Nelson Defendants to agree to this proposed limitation on Requests for Production 3 and 4.




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         19.     After learning of the settlement agreement and requesting Amazon provide

  additional information on the yields and fee sin its other leases, Amazon did provide some, but not

  complete information. Thus, Nelson was forced to subpoena a third party auditor of Amazon for

  data Amazon had in its possession but would not provide.

         20.     Attached hereto as Exhibit N is a true and correct copy of excerpts from the

  deposition of Keith Klein, taken on March 22, 2022 in this action, filed under seal.



         I declare under penalty of perjury that the foregoing is true and correct to the best of my

  knowledge, information, and belief


  Executed on December 23, 2022
                                               /s/ Adam R. Smart
                                               ADAM R. SMART




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 23, 2022, a true and correct copy of the foregoing has

  been served upon all parties of record via the ECF system and via email.



         Dated: December 23, 2022                     /s/ Rachel Friedman
                                                      Rachel Friedman




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